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         Attorneys for Debtors and Debtors-in-
     7   Possession SCOOBEEZ, SCOOBEEZ GLOBAL,
         INC., and SCOOBUR, LLC
     8
                                        UNITED STATES BANKRUPTCY COURT
     9
                                         CENTRAL DISTRICT OF CALIFORNIA
    10                                        LOS ANGELES DIVISION
    11                                                         Case No. 2:19-bk-14989-WB
             In re:                                            Jointly Administered:
    12                                                         2:19-bk-14991-WB; 2:19-bk-14997-WB
             SCOOBEEZ, et al.1
    13                                                         Chapter 11
                        Debtors and Debtors in Possession.
    14                                                         ORDER DENYING AMAZON LOGISTICS,
             Affects:                                          INC.’S NOTICE OF MOTION AND
    15                                                         MOTION FOR AN ORDER: (A)
             ■ All Debtors                                     DETERMINING THAT THE AUTOMATIC
    16                                                         STAY DOES NOT REQUIRE AMAZON TO
             □ Scoobeez, ONLY                                  UTILIZE DEBTORS’ SERVICES AND (B)
    17                                                         MODIFYING THE AUTOMATIC STAY
             □ Scoobeez Global, Inc., ONLY
    18                                                         Hearing:
             □ Scoobur LLC, ONLY
    19                                                         Date: March 16, 2019
                                                               Time: 1:00 p.m.
    20                                                         Place: (Telephonic) Courtroom 1375
                                                                      U.S. Bankruptcy Court
    21                                                                255 East Temple Street
                                                                      Los Angeles, CA 90012
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    28     The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
         follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
         address is 3463 Foothill Boulevard, Glendale, California 91214.

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 1          On or about October 28, 2019, Amazon Logistics, Inc. (“Amazon”) filed its Notice of Motion
 2   and Motion for an Order: (A) Determining that the Automatic Stay Does Not Require Amazon to Utilize
 3   Debtors’ Services, and (B) Modifying the Automatic Stay [Docket No. 393] (the “Amazon Relief from
 4   Stay Motion”), seeking an order (a) determining that the automatic stay does not require Amazon to
 5   utilize the Debtors’ services; (b) granting Amazon relief from the automatic stay in the event the Court
 6   determined that the automatic stay requires Amazon to utilize the Debtors’ services; and (c) granting
 7   Amazon relief from the automatic stay to terminate its contract with the Debtors.
 8          On November 4, 2019, both the Official Committee of Unsecured Creditors (the “Committee”)
 9   and Hillair Capital Management (“Hillair”) filed their Oppositions to the Amazon Relief from Stay
10   Motion [Docket Nos. 417 and 418, respectively]. On November 5, 2019, the Debtors filed their
11   Opposition to the Amazon Relief from Stay Motion [Docket No. 419].
12          On November 11, 2019, Amazon filed its reply in support of the Amazon Relief from Stay
13   Motion [Docket No. 430].
14          On February 19, 2020, the Debtors filed redacted versions of their supplemental brief in
15   opposition to the Amazon Relief from Stay Motion [Docket No. 613] and declaration of Shane Moses
16   [Docket No. 615] along with a motion for an order permitting them to file the foregoing documents
17   under seal [Docket No. 616] and declaration of Shane Moses in support [Docket No. 617]. On February
18   21, 2020, the Court granted the Debtors’ motion to file the foregoing documents under seal [Docket No.
19   624] and filed unredacted versions of the foregoing opposition and declaration under seal [Docket Nos.
20   630 and 631].
21          On February 19, 2020, Hillair filed a redacted version of its supplemental brief in opposition to
22   the Amazon Relief from Stay Motion [Docket No. 609], a motion for an order permitting it to file its
23   supplemental opposition to the Amazon Relief from Stay Motion under seal [Docket No. 601], and the
24   Court entered an order granting that motion [Docket No. 608]. On February 20, 2020, the Court filed an
25   unredacted version of Hillair’s supplemental opposition to the Amazon Relief from Stay Motion under
26   seal [Docket No. 620]. On March 10, 2020, Hillair filed an amended supplemental opposition with
27   additional redactions [Docket No. 679].
28

                                                      ORDER DENYING AMAZON RELIEF FROM STAY MOTION
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 1            On February 19, 2020, Amazon filed a motion for an order permitting it to file its supplemental
 2   brief in support of the Amazon Relief from Stay Motion under seal [Docket No. 605], and the
 3   Declarations of Tuyet. T. Nguyen and Meredith Riccio in support of that supplemental brief [Docket
 4   Nos. 606 and 607, respectively].2 Amazon’s motion to seal included, as an exhibit, a redacted version of
 5   its supplemental brief and the appendix of exhibits in support of that brief. On February 21, 2020, the
 6   Court entered an order granting Amazon’s motion to file its supplemental brief and supporting appendix
 7   of exhibits under seal [Docket No. 625]. On February 24, 2020, the Court filed under seal an unredacted
 8   version of Amazon’s supplement brief in support of the Amazon Motion for Relief from Stay and the
 9   appendix of exhibits in support of that brief [Docket Nos. 685 and 686, respectively].
10            On March 16, 2020, the above-referenced bankruptcy court (the “Court”) held the hearing on
11   the Amazon Relief from Stay Motion (the “Hearing”). Appearances were as noted in the record. The
12   Court has duly considered all relevant pleadings, papers, and evidence filed in support of and in
13   opposition to the Amazon Relief from Stay Motion, the record, pleadings, and other documents on file
14   in the above-referenced jointly administered bankruptcy cases, and the statements and arguments of
15   counsel at the Hearing.
16            For the reasons set forth on the record at the Hearing, and good cause appearing therefor,
17            IT IS HEREBY ORDERED that:
18            1.       The Amazon Relief from Stay Motion is DENIED.
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24           Date: April 2, 2020

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         Ms. Riccio’s declaration was re-filed on February 20, 2020 at the Court’s request [Docket No. 623].

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 1          2.     This Court retains jurisdiction regarding any issues regarding interpretation or
 2   implementation of this order.
 3                                      APPROVED AS TO FORM:
 4   DATED: MARCH 27, 2020                       MORGAN LEWIS & BOCKIUS LLP
 5

 6                                               By:       /s/ Richard Esterkin
                                                                       RICHARD ESTERKIN
 7                                                     Attorneys for Amazon Logistics, Inc.
 8   DATED: MARCH 27, 2020                       QUINN EMANUEL URQUHART & SULLIVAN LLP
 9
10                                               By:       /s/ Jennifer Nassiri
                                                                          ERIC WINSTON
11                                                                     CRYSTAL NIX-HINES
                                                                        JENNIFER NASSIRI
12                                                     Attorneys for Hillair Capital Management, LLC
13   DATED: MARCH 27, 2020                       LEVENE NEALE BENDER YOO & BRILL L.L.P.
14

15                                               By:       /s/ David Neale
                                                                         DAVID NEALE
16                                                                         J.P. FRITZ
17                                                     Attorneys for the Official Committee of Unsecured
                                                       Creditors
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                                                        ###
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                                                   ORDER DENYING AMAZON RELIEF FROM STAY MOTION
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